




Criminal Case Template












COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS






IN RE: VICTOR BUSTOS,


                            Relator.


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No. 08-04-00084-CR



AN ORIGINAL PROCEEDING


IN MANDAMUS


OPINION ON PETITION FOR WRIT OF MANDAMUS


	Relator Victor Bustos has filed a petition for writ of mandamus, seeking to compel
the trial judge to grant him access to grand jury transcripts.  To obtain mandamus relief in
a criminal matter, the relator must establish that (1) the act sought to be compelled is
ministerial, and (2) there is no adequate remedy at law.  Dickens v. Court of Appeals for
Second Supreme Judicial Dist., 727 S.W.2d 542, 548 (Tex. Crim. App. 1987).  Relator has
not established that the trial judge has a ministerial duty to grant him access to the grand jury
transcripts.  Accordingly, the petition for writ of mandamus is denied.
May 6, 2004


				             		                                                                                     

	 				RICHARD BARAJAS, Chief Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)


